 Case 18-31635            Doc 413         Filed 06/14/22 Entered 06/14/22 09:23:29           Desc Main
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    FILED & JUDGMENT ENTERED
           Steven T. Salata


             June 14 2022


      Clerk, U.S. Bankruptcy Court
     Western District of North Carolina
                                                                              _____________________________
                                                                                        Laura T. Beyer
                                                                                United States Bankruptcy Judge




                               UNITED STATES BANKRUPTCY COURT
                              WESTERN DISTRICT OF NORTH CAROLINA
                                     CHARLOTTE DIVISION

IN RE:
                                                                 Case No. 18-31635-LTB
VR KING CONSTRUCTION, LLC, et al.,1                                    Chapter 7

                        Debtor
                 ORDER APPROVING PAYMENT OF INTERIM DISTRIBUTION TO
                     CREDITORS AND INTERIM TRUSTEE COMMISSION

        The Trustee herein, A. Burton Shuford on May 11, 2022 having filed in this matter his
Application for Approval of Payment of Interim Distribution to Creditors and Interim Trustee
Commission [Docket #400] (the “Application”), and no objection to the Application having been
filed within thirty (30) days after due notice to all creditors and parties in interest as required by law,
and it appearing from examination of the Application that said report and account is correct, and it
further appearing therefrom that the same should be allowed, approved and confirmed, it is

        ORDERED that the Application for Approval of Payment of Interim Distribution to Creditors
and Interim Trustee Commission be and hereby is approved, and it is

       FURTHER ORDERED that the Trustee’s application for Interim Trustee Commission in the
amount of $37,577.39 is approved and it is

       FURTHER ORDERED that the interim distribution to Y2 Yoga Cotswold, LLC in the
amount of $715,000.00 is approved, and it is

        FURTHER ORDERED that the interim distribution proposed by the Trustee in the total sum
of $752,577.39 be and hereby is allowed, approved and confirmed, and, the Trustee is hereby
authorized and directed to make all disbursements as set forth above.

This Order has been signed electronically                        United States Bankruptcy Court
The judge’s signature and court’s seal
appear at the top of the Order
______________________________
1 This case has been substantively consolidated with the following cases: VR Investments, LLC 18-31637 and

Baranko Enterprise, Inc. 18-31638.
